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7
                          IN THE UNITED STATES DISTRICT COURT
8
                                CENTRAL DISTRICT OF ARIZONA
9
10
           KATHLEEN ARTHUR,                             Case No.: 2:17-cv-03242-PHX-DJH
11
12                      Plaintiff,                      NOTICE OF SETTLEMENT
                 vs.
13
14         KEY BANK USA, N.A.; MACY’S,
           INC.; DEPARTMENT STORES
15         NATIONAL BANK; VERIZON
16         WIRELESS (VAW), LLC;
           EXPERIAN INFORMATION
17         SOLUTIONS, INC.; EQUIFAX
           INFORMATION SERVICES LLC;
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           TRANSUNION, LLC,
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                       Defendants.
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              NOTICE IS HEREBY GIVEN that Plaintiff Kathleen Arthur (“Plaintiff”) and
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22   Defendant Key Bank USA, N.A. (“Key Bank”) have settled all claims between them in

23   this matter. The parties are in the process of completing the final settlement documents
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     and expect to file a Stipulation of Dismissal with Prejudice within the next forty-five (45)
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     days. The parties also request that the Court retain jurisdiction for any matters related to
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27   completing and/or enforcing the settlement.

28   ///
                                                                          NOTICE OF SETTLEMENT
                                                  -1-
       Case 2:17-cv-03242-DJH Document 61 Filed 12/08/17 Page 2 of 3



1          RESPECTFULLY SUBMITTED,
2
3    Dated: December 8, 2017                   PRICE LAW GROUP, APC
4                                              By: /s/ David A. Chami
5                                              David A. Chami
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6                                              Attorneys for Plaintiff Kathleen Arthur
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        Case 2:17-cv-03242-DJH Document 61 Filed 12/08/17 Page 3 of 3



1                                  CERTIFICATE OF SERVICE
2
3           I hereby certify that on December 8, 2017, I electronically filed the foregoing with
4    the Clerk of the Court using the CM/ECF system, which will send notice of such filing to
5
     all attorneys of record in this matter.
6
7
8    /s/ Sandra Padilla

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